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 Michelle Hartmann                                Debra A. Dandeneau (Admitted pro hac vice)
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                                                  blaire.cahn@bakermckenzie.com
 Counsel for Scott Ellington and Isaac Leventon

                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION
   In re:
                                                           Chapter 11
   HIGHLAND CAPITAL MANAGEMENT, L.P.,
                 Reorganized Debtor.                       Case No. 19-34054-sgj11
   MARC S. KIRSCHNER, AS LITIGATION TRUSTEE
   OF THE LITIGATION SUB-TRUST,
                 Plaintiff,
            v.
   JAMES D. DONDERO; MARK A. OKADA; SCOTT
   ELLINGTON; ISAAC LEVENTON; GRANT JAMES
   SCOTT III; FRANK WATERHOUSE; STRAND
   ADVISORS, INC.; NEXPOINT ADVISORS, L.P.;
   HIGHLAND CAPITAL MANAGEMENT FUND
   ADVISORS, L.P.; DUGABOY INVESTMENT TRUST
   AND NANCY DONDERO, AS TRUSTEE OF
   DUGABOY INVESTMENT TRUST; GET GOOD
   TRUST AND GRANT JAMES SCOTT III, AS
   TRUSTEE OF GET GOOD TRUST; HUNTER
   MOUNTAIN INVESTMENT TRUST; MARK & Adv. Pro. No. 21-03076-sgj
   PAMELA OKADA FAMILY TRUST – EXEMPT
   TRUST #1 AND LAWRENCE TONOMURA AS
   TRUSTEE OF MARK & PAMELA OKADA FAMILY
   TRUST – EXEMPT TRUST #1; MARK & PAMELA
   OKADA FAMILY TRUST – EXEMPT TRUST #2
   AND LAWRENCE TONOMURA IN HIS CAPACITY
   AS TRUSTEE OF MARK & PAMELA OKADA
   FAMILY TRUST – EXEMPT TRUST #2; CLO
   HOLDCO, LTD.; CHARITABLE DAF HOLDCO,
   LTD.; CHARITABLE DAF FUND, LP.; HIGHLAND
   DALLAS FOUNDATION; RAND PE FUND I, LP,
   SERIES 1; MASSAND CAPITAL, LLC; MASSAND
   CAPITAL, INC.; SAS ASSET RECOVERY, LTD.;
   AND CPCM, LLC,
                 Defendants.
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                  NOTICE OF ISSUANCE OF SUBPOENA TO
         PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS OR TO
       PERMIT INSPECTION OF PREMISES TO ROGGE DUNN GROUP, P.C.


       PLEASE TAKE NOTICE that Defendants, Scott Ellington and Isaac Leventon, by and

through their attorneys of record, intend to serve the Subpoena attached hereto as Exhibit “A,”

pursuant to Rule 45 of the Federal Rules of Civil Procedure, as made applicable by Rule 9016 of

the Federal Rules of Bankruptcy Procedure, on third-party, Rogge Dunn Group, P.C.




 Dated: January 13, 2023

 By: /s/ Michelle Hartmann                        Debra A. Dandeneau
 Michelle Hartmann                                Blaire Cahn
 State Bar No. 24032402                           BAKER & MCKENZIE LLP
 BAKER & MCKENZIE LLP                             452 Fifth Ave
 1900 North Pearl, Suite 1500                     New York, NY 10018
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 Facsimile: 214-978-3099                          Email: blaire.cahn@bakermckenzie.com
 Email: michelle.hartmann@bakermckenzie.com       (Admitted pro hac vice)

                                                  Counsel for Scott Ellington and Isaac Leventon




                                              2
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                               CERTIFICATE OF SERVICE

       I certify that on January 13, 2023, a true and correct copy of the above and foregoing

document was served via electronic email through the Court’s CM/ECF system to the parties that

have requested or consented to such service.

                                                   /s/ Michelle Hartmann
                                                   Michelle Hartman




                                               3
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                                  EXHIBIT “A”




                                                                                      1
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B2570 (Form 2570 – Subpoena to Produce Documents, Information, or Objects or To Permit
                                                            Document               PageInspection
                                                                                             5 ofin 13
                                                                                                    a Bankruptcy Case or Adversary Proceeding) (12/15)

                                      UNITED STATES BANKRUPTCY COURT
  _________________________________________
                                   Northern District of _________________________________________
                                                         Texas
      HIGHLAND CAPITAL MANAGEMENT, L.P.,
In re __________________________________________
                                    Debtor
                                                                                             19-34054-sgj
                                                                                    Case No. _____________________
          (Complete if issued in an adversary proceeding)
Mark S. Kirschner, as Litigation Trustee of the Litigation                                  11
                                                                                    Chapter ___________
Sub-Trust,
_________________________________________
                                   Plaintiff
                          v.                                                                       21-03076-sgj
                                                                                    Adv. Proc. No. ________________
James D. Dondero, et al.,
__________________________________________
                                  Defendant

         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS OR TO PERMIT
         INSPECTION OF PREMISES IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)

  To: ________________________________________________________________________________________
       Rogge Dunn Group, P.C.
                                   (Name of person to whom the subpoena is directed)

     Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
  documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
  material: See Attachment A.

  PLACE * Baker & McKenzie LLP                                                                              DATE AND TIME
             1900 North Pearl St., Suite 1500                                                                                       February 13, 2023 at 9:00 a.m.
             Dallas, TX 75201

             * In lieu of delivery of hard-copy documents, you may electronically deliver the documents to counsel listed in Exhibit 1.
      Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
  other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
  may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.
  PLACE                                                                                                     DATE AND TIME




          The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
  attached – Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
  subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of not
  doing so.

        January 13, 2023
  Date: _____________
                                    CLERK OF COURT

                                                                                    OR     /s/ Michelle Hartmann
                                    ________________________                               ________________________
                                    Signature of Clerk or Deputy Clerk                          Attorney’s signature
                                                                                            Michelle Hartmann
 The name, address, email address, and telephone number of the attorney representing (name of party)
 See Exhibit 1 attached hereto
 ____________________________          , who issues or requests this subpoena, are:
 See Exhibit 1 attached hereto
                                  Notice to the person who issues or requests this subpoena
 If this subpoena commands the production of documents, electronically stored information, or tangible things, or the
 inspection of premises before trial, a notice and a copy of this subpoena must be served on each party before it is served on
 the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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B2570 (Form 2570 – Subpoena to Produce Documents, Information, or Objects or To Permit
                                                         Document                Page  Inspection
                                                                                           6 of in13a Bankruptcy Case or Adversary Proceeding) (Page 2)

                                                               PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, if any): ______________________________________________
on (date) __________ .

   I served the subpoena by delivering a copy to the named person as follows: ____________________________________
___________________________________________________________________________________________________
__________________________________ on (date) ___________________ ; or

   I returned the subpoena unexecuted because: ____________________________________________________________
___________________________________________________________________________________________________

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also tendered to the
witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of $ _______________________ .

 My fees are $ _________ for travel and $_________ for services, for a total of $_________ .


          I declare under penalty of perjury that this information is true and correct.

Date: _______________
                                                                                  ________________________________________________
                                                                                                               Server’s signature

                                                                                  ________________________________________________
                                                                                                            Printed name and title


                                                                                  ________________________________________________
                                                                                                                Server’s address


Additional information concerning attempted service, etc.:
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                            Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12/1/13)
                        (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

(c) Place of compliance.                                                                     (ii) disclosing an unretained expert's opinion or information that does
                                                                                       not describe specific occurrences in dispute and results from the expert's
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                    study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                          (C) Specifying Conditions as an Alternative. In the circumstances
    (A) within 100 miles of where the person resides, is employed, or                  described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                             modifying a subpoena, order appearance or production under specified
    (B) within the state where the person resides, is employed, or regularly           conditions if the serving party:
transacts business in person, if the person                                                   (i) shows a substantial need for the testimony or material that cannot
      (i) is a party or a party’s officer; or                                          be otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial                     (ii) ensures that the subpoenaed person will be reasonably
expense.                                                                               compensated.

  (2) For Other Discovery. A subpoena may command:                                     (e) Duties in Responding to a Subpoena.
    (A) production of documents, or electronically stored information, or
things at a place within 100 miles of where the person resides, is employed,             (1) Producing Documents or Electronically Stored Information. These
or regularly transacts business in person; and                                         procedures apply to producing documents or electronically stored
    (B) inspection of premises, at the premises to be inspected.                       information:
                                                                                           (A) Documents. A person responding to a subpoena to produce
(d) Protecting a Person Subject to a Subpoena; Enforcement.
                                                                                       documents must produce them as they are kept in the ordinary course of
                                                                                       business or must organize and label them to correspond to the categories in
      (1) Avoiding Undue Burden or Expense; Sanctions. A party or
                                                                                       the demand.
attorney responsible for issuing and serving a subpoena must take
                                                                                           (B) Form for Producing Electronically Stored Information Not
reasonable steps to avoid imposing undue burden or expense on a person
                                                                                       Specified. If a subpoena does not specify a form for producing
subject to the subpoena. The court for the district where compliance is
                                                                                       electronically stored information, the person responding must produce it in
required must enforce this duty and impose an appropriate sanction —
                                                                                       a form or forms in which it is ordinarily maintained or in a reasonably
which may include lost earnings and reasonable attorney's fees — on a
                                                                                       usable form or forms.
party or attorney who fails to comply.
                                                                                           (C) Electronically Stored Information Produced in Only One Form. The
                                                                                       person responding need not produce the same electronically stored
  (2) Command to Produce Materials or Permit Inspection.
                                                                                       information in more than one form.
    (A) Appearance Not Required. A person commanded to produce
                                                                                           (D) Inaccessible Electronically Stored Information. The person
documents, electronically stored information, or tangible things, or to
                                                                                       responding need not provide discovery of electronically stored information
permit the inspection of premises, need not appear in person at the place of
                                                                                       from sources that the person identifies as not reasonably accessible because
production or inspection unless also commanded to appear for a deposition,
                                                                                       of undue burden or cost. On motion to compel discovery or for a protective
hearing, or trial.
                                                                                       order, the person responding must show that the information is not
    (B) Objections. A person commanded to produce documents or tangible
                                                                                       reasonably accessible because of undue burden or cost. If that showing is
things or to permit inspection may serve on the party or attorney designated
                                                                                       made, the court may nonetheless order discovery from such sources if the
in the subpoena a written objection to inspecting, copying, testing or
                                                                                       requesting party shows good cause, considering the limitations of Rule
sampling any or all of the materials or to inspecting the premises — or to
                                                                                       26(b)(2)(C). The court may specify conditions for the discovery.
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
                                                                                          (2) Claiming Privilege or Protection.
compliance or 14 days after the subpoena is served. If an objection is made,
                                                                                            (A) Information Withheld. A person withholding subpoenaed
the following rules apply:
                                                                                       information under a claim that it is privileged or subject to protection as
      (i) At any time, on notice to the commanded person, the serving party
                                                                                       trial-preparation material must:
may move the court for the district where compliance is required for an
                                                                                              (i) expressly make the claim; and
order compelling production or inspection.
                                                                                              (ii) describe the nature of the withheld documents, communications,
      (ii) These acts may be required only as directed in the order, and the
                                                                                       or tangible things in a manner that, without revealing information itself
order must protect a person who is neither a party nor a party's officer from
                                                                                       privileged or protected, will enable the parties to assess the claim.
significant expense resulting from compliance.
                                                                                            (B) Information Produced. If information produced in response to a
                                                                                       subpoena is subject to a claim of privilege or of protection as trial-
  (3) Quashing or Modifying a Subpoena.
                                                                                       preparation material, the person making the claim may notify any party that
    (A) When Required. On timely motion, the court for the district where
                                                                                       received the information of the claim and the basis for it. After being
compliance is required must quash or modify a subpoena that:
                                                                                       notified, a party must promptly return, sequester, or destroy the specified
      (i) fails to allow a reasonable time to comply;
                                                                                       information and any copies it has; must not use or disclose the information
      (ii) requires a person to comply beyond the geographical limits
                                                                                       until the claim is resolved; must take reasonable steps to retrieve the
specified in Rule 45(c);
                                                                                       information if the party disclosed it before being notified; and may
      (iii) requires disclosure of privileged or other protected matter, if no
                                                                                       promptly present the information under seal to the court for the district
exception or waiver applies; or
                                                                                       where compliance is required for a determination of the claim. The person
      (iv) subjects a person to undue burden.
                                                                                       who produced the information must preserve the information until the claim
    (B) When Permitted. To protect a person subject to or affected by a
                                                                                       is resolved.
subpoena, the court for the district where compliance is required may, on
                                                                                       …
motion, quash or modify the subpoena if it requires:
                                                                                       (g) Contempt. The court for the district where compliance is required – and
      (i) disclosing a trade secret or other confidential research,
                                                                                       also, after a motion is transferred, the issuing court – may hold in contempt
development, or commercial information; or
                                                                                       a person who, having been served, fails without adequate excuse to obey
                                                                                       the subpoena or an order related to it .


                                          For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013)
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                                         Attachment A


                                         DEFINITIONS

The following definitions and rules of construction shall apply herein:

   1. The terms “all,” “any,” and “each” shall each be construed as encompassing any and all.
      The connectives “and” and “or” shall be construed either disjunctively or conjunctively as
      necessary to bring within the scope of the discovery request all responses that might
      otherwise be construed to be outside of its scope. The use of the singular form of any word
      includes the plural and vice versa.
   2. The term “document” is defined to be synonymous in meaning and equal scope to the
      usage of the term “documents or electronically stored information” in Fed. R. Civ. P.
      34(a)(1)(A). A draft or non-identical copy is a separate document within the meaning of
      this term. A “document” shall be construed as a document and all attachments thereto.

   3. The terms “including” and “includes” are used to provide examples of certain types of
      information and should not be construed as limiting a request in any way. The term
      “including” shall be construed as if followed by the phrase “but not limited to,” irrespective
      of whether such phrase is explicitly stated or not.

   4. “Acis” means Acis Capital Management, L.P., Acis Capital Management GP, LLC, and
      any of their predecessors, successors, parents, subsidiaries, affiliates, agents, and counsel,
      including, but not limited to, Joshua Terry, and any attorneys at Winstead PC (including
      attorney Rakhee Patel), Forshey Prostok LLP (including attorney Jeff Prostok), Rogge
      Dunn Group, PC (including attorney Brian Shaw), and Carrington, Coleman, Sloman &
      Blumenthal, L.L.P. (including attorney Brian Shaw).

   5. “Acis Litigation” means Acis Capital Mgmt., L.P. v. Dondero., Adv. Proc. No. 20-03060-
      sgj (Bankr. N.D. Tex. Apr. 11, 2020); Highland Capital Mgmt. L.P. v. Phelan, Adv. Proc.
      No. 18-03078-sgj (Bankr. N.D. Tex. May 30, 2018); Acis Capital Mgmt., L.P. v. Cruciani,
      Case No. DC-20-05534 (Tex. Dist. Ct. Apr. 10, 2020), and any and all claims or causes of
      action filed by Acis against HCMLP or any of its affiliates.

   6. “HCMLP” means Highland Capital Management, L.P.

   7. “Highland Bankruptcy” means In re Highland Capital Mgmt., L.P., Case No. 19-35054-
      sgj11 (Bankr. N.D. Tex. Feb. 13, 2020); In re Highland Capital Mgmt., L.P., Case No. 19-
      12239 (CSS) (Bankr. D. Del. Dec. 4, 2019).

   8. “Highland Party” means Highland Capital Management, L.P., any of its partners, general
      partners, subsidiaries, affiliates, managed or advised funds or accounts, employees, or
      professionals, including, but not limited to, Pachulski Stang Ziehl & Jones LLP,
      Development Specialists Inc., James P. Seery, Jr., Russell Nelms, and John Dubel.

   9. “Redeemer Committee” means the Redeemer Committee of the Highland Crusader Funds.


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   10. “Terry Arbitration” means the arbitration filed by Joshua Terry against Acis Capital
       Management, L.P. and HCMLP in JAMS Ref. No. 310022713.

   11. “Terry Litigation” means In re Acis Capital Mgmt., L.P., Case No. 18-30264-sgj11 (Bankr.
       N.D. Tex. Jan. 30, 2018); In re Acis Capital Mgmt. GP, LLC, Case No. 18-30265-sgj11
       (Bankr. N.D. Tex. Jan. 30, 2018); Terry v. Acis Capital Mgmt., L.P., Case No. DC-16-
       11396 (Tex. Dist. Ct. Sep. 8, 2016); and Terry v. Acis Capital Mgmt., L.P., Case No. DC-
       17-15244 (Tex. Dist. Ct. Nov. 6, 2017).

   12. “UCC” means the Official Committee of Unsecured Creditors in the Highland Bankruptcy.

   13. “UCC Party” means the Official Committee of Unsecured Creditors in the Highland
       Bankruptcy including, but not limited to, each of its current and former members, member
       representatives, agents, and the respective agents of each of the foregoing. This specifically
       includes, but is not limited to, Sidley Austin LLP, FTI Consulting, Inc., Winstead, PC
       (including attorney Rakhee V. Patel), Forshey Prostok LLP (including attorney Jeff
       Prostok), Rogge Dunn Group, PC (including attorney Brian P. Shaw), Carrington,
       Coleman, Sloman & Blumenthal, L.L.P. (including attorney Brian P. Shaw), Jenner &
       Block LLP (including attorney Terri L. Mascherin), the Redeemer Committee of the
       Highland Crusader Funds, GCM Grosvenor, Grosvenor Capital Management L.P., Eric
       Felton, Burke Montgomery, Stuart Robertson, UBS AG, London Branch and UBS
       Securities LLC, including its counsel Latham & Watkins LLP (including attorney Andrew
       Clubok), Meta-e Discovery, LLC, Paul H. McVoy, and Morrison Cohen LLP.



                                 REQUESTED DOCUMENTS

   1. All documents and communications exchanged between any Highland Party and any UCC
      Party including, but not limited to, any documents and communications exchanged
      between Acis and any Highland Party.

   2. All non-privileged documents and communications by and amongst any UCC Party
      relating to the Highland Bankruptcy, including any communications reflecting any
      business deliberations, votes, decisions, or resolutions of the UCC.

   3. All documents and communications exchanged between Acis and any other UCC Party.

   4. All pleadings and motions submitted to the arbitrator(s) in the Terry Arbitration.

   5. All hearing and trial exhibits admitted in the Terry Arbitration.

   6. All hearing and deposition transcripts from the Terry Arbitration.

   7. All correspondence to or from the arbitrator(s) and/or any opposing party in the Terry
      Arbitration.

   8. All non-privileged communications relating to the Terry Arbitration.


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   9. All non-privileged communications relating to the Terry Litigation.

   10. All hearing and trial exhibits admitted in the Terry Litigation.

   11. All deposition and hearing transcripts from the Terry Litigation.

   12. All documents produced in the Terry v. Acis Capital Mgmt., L.P., Case No. DC-16-11396
       (Tex. Dist. Ct. Sep. 8, 2016); and Terry v. Acis Capital Mgmt., L.P., Case No. DC-17-
       15244 (Tex. Dist. Ct. Nov. 6, 2017) matters.

   13. All correspondence to or from the court and/or any opposing party in the Terry Litigation.

   14. All non-privileged communications relating to the Acis Litigation.

   15. All hearing and trial exhibits admitted in the Acis Litigation.

   16. All deposition and hearing transcripts from the Acis Litigation.

   17. All correspondence to or from the court and/or any opposing party in the Acis Litigation.

   18. All documents and communications relating to any negotiation or settlement of Proof of
       Claim No. 23 filed by Acis Capital Management L.P. and Acis Capital Management GP,
       LLC in the Highland Bankruptcy.

   19. All documents and communications relating to the sale or transfer of Proof of Claim No.
       23 filed in the Highland Bankruptcy.




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                                              Exhibit 1

       The name, address, email address, and telephone number of the attorneys representing the parties
who issue or request this subpoena are:


                                        By: /s/ Michelle Hartmann
                                            Michelle Hartmann
                                            State Bar No. 24032402
                                            BAKER & MCKENZIE LLP
                                            1900 North Pearl, Suite 1500
                                            Dallas, TX 75201
                                            Telephone: 214-978-3000
                                            michelle.hartmann@bakermckenzie.com
                                             and
                                             Debra A. Dandeneau (Admitted pro hac vice)
                                             Blaire Cahn (Admitted pro hac vice)
                                             BAKER & MCKENZIE LLP
                                             452 Fifth Ave
                                             New York, NY 10018
                                             Telephone: 212-626-4875
                                             debra.dandeneau@bakermckenzie.com
                                             blaire.cahn@bakermckenzie.com
                                             Counsel to Scott Ellington and Isaac Leventon


                                         By: /s/ Michael Aigen
                                            Deborah R. Deitsch-Perez
                                            State Bar No. 24036072
                                            Michael P. Aigen
                                            State Bar No. 24012196
                                            Stinson LLP
                                            2200 Ross Avenue, Suite 2900
                                            Dallas, TX 75201
                                            Telephone: 214-560-2201
                                            deborah.deitschperez@stinson.com
                                            michael.aigen@stinson.com

                                             Counsel to NexPoint Advisors, L.P., and Highland Capital
                                             Management Fund Advisors, L.P.




                                                                                                      1
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                                  By: /s/ Amy L. Ruhland
                                     Amy L. Ruhland
                                     State Bar No. 24043561
                                     DLA Piper LLP
                                     303 Colorado Street, Suite 3000
                                     Austin, TX 78701
                                     Telephone: 512-457-7000
                                     Amy.Ruhland@us.dlapiper.com

                                     and

                                     Jason M. Hopkins
                                     State Bar No. 24059969
                                     1900 N. Pearl Street, Suite 2200
                                     Dallas, TX 75201
                                     Telephone: 214-743-4500
                                     jason.hopkins@us.dlapiper.com

                                     Counsel to James D. Dondero, Strand Advisors, Inc., The
                                     Dugaboy Investment Trust, The Get Good Trust, Hunter
                                     Mountain Investment Trust, and Rand PE Fund I, LP,
                                     Series I


                                  By: /s/ Louis M. Phillips
                                     Louis M. Phillips
                                     Kelly Hart Pitre
                                     One American Place
                                     301 Main Street, Suite 1600
                                     Baton Rouge, LA 70801
                                     Telephone: 225-381-9643
                                     louisphillips@kellyhart.com

                                     and

                                     Amelia L. Hurt
                                     (LA #36817, TX #24092553)
                                     400 Poydras Street, Suite 1812
                                     New Orleans, LA 70130
                                     Telephone: (504) 522-1812
                                     amelia.hurt@kellyhart.com

                                     and




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                                     Hugh G. Connor II
                                     State Bar No. 00787272
                                     Michael D. Anderson
                                     State Bar No. 24031699
                                     Katherine T. Hopkins
                                     State Bar No. 24070737
                                     KELLY HART & HALLMAN
                                     201 Main Street, Suite 2500
                                     Fort Worth, TX 76102
                                     Telephone: (817) 332-2500
                                     hugh.connor@kellyhart.com
                                     michael.anderson@kellyhart.com
                                     katherine.hopkins@kellyhart.com
                                     Counsel to CLO Holdco, Ltd., Highland Dallas
                                     Foundation, Charitable DAF Fund, LP, and Charitable
                                     DAF Holdco, Ltd


                                  By: /s/ Brian D. Glueckstein
                                     Brian D. Glueckstein
                                     Sullivan & Cromwell LLP
                                     125 Broad Street
                                     New York, NY 10004
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